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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 18-283-PA-3

 Defendant     David Perez                                                   Social Security No. N          O     N     E
       Victor Manuel Ventura Mendoza; Victor Manuel
                                                                             (Last 4 digits)
 akas: Ventura; T/N: Victor Manuel Ventura Mendiola

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         12      28   2020


 COUNSEL                                                                Gregory Nicolaysen, CJA
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

  FINDING             Conspiracy to Commit Bank Fraud in violation of 18 U.S.C. §1349 as charged in Count One of the First
                      Superseding Indictment and Aggravated Identity Theft in violation of 18 U.S.C. §1028A as charged in
                      Count Two of the First Superseding Indictment.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/ sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
          guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the
                      judgment of the Court that the defendant, David Perez, also knowns as Victor Manuel Ventura Mendiola,
                      is hereby committed on Counts 1 and 2 of the First Superseding Indictment to the custody of the Bureau
                      of Prisons for a term of 42 months. This term consists of 18 months on Count 1, and 24 months on Count
                      2, to be served consecutively to the term imposed on Count 1.


Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years. This term
consists of three years on Count 1 and one year on Count 2 of the First Superseding Indictment, all such terms to run
concurrently under the following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Amended General Order 20-04.

              2. The defendant shall not commit any violation of local, state, or federal law or ordinance.

              3. During the period of community supervision, the defendant shall pay the special assessment and restitution
                 in accordance with this judgment's orders pertaining to such payment.

              4. The defendant shall cooperate in the collection of a DNA sample from the defendant.

              5. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
                 passport or any other form of identification in any name, other than the defendant's true legal name, nor


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                      shall the defendant use, any name other than the defendant's true legal name without the prior written
                      approval of the Probation Officer.

              6. The defendant shall comply with the immigration rules and regulations of the United States, and if
                 deported from this country, either voluntarily or involuntarily, not reenter the United States illegally. The
                 defendant is not required to report to the Probation & Pretrial Services Office while residing outside of
                 the United States; however, within 72 hours of release from any custody or any reentry to the United States
                 during the period of Court-ordered supervision, the defendant shall report for instructions to the United
                 States Probation Office located at: the 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-
                 3323.

              7. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                 judgments and any other financial gains to the Court-ordered financial obligation.

              8. The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined
                 in 18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage devices or media,
                 email accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s
                 control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to
                 submit to a search may be grounds for revocation. The defendant shall warn any other occupants that the
                 premises may be subject to searches pursuant to this condition. Any search pursuant to this condition will
                 be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant
                 has violated a condition of his supervision and that the areas to be searched contain evidence of this
                 violation.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses
a low risk of future substance abuse.

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $18,859.65 pursuant to 18 U.S.C. § 3663A.

The amount of restitution ordered shall be paid as follows:

Victim                       Amount

Citibank                     $18,859.65

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least 10% of defendant's gross monthly income but not less than
$100, whichever is greater, shall be made during the period of supervised release and shall begin 30 days after the
commencement of supervision. Nominal restitution payments are ordered as the Court finds that the defendant's economic
circumstances do not allow for either immediate or future payment of the amount ordered.

The defendant shall be held jointly and severally liable with co-participants, Chrystalyn House, Sean Lamont Wyatt, and
Kendra Jamerson (Docket No. 2:18CR00283) for the amount of restitution ordered in this judgment. The victims'


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recovery is limited to the amount of their loss and the defendant's liability for restitution ceases if and when the victims
receive full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

On Government's motion, the underlying Indictment /all remaining counts are ORDERED dismissed.

Defendant advised of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            December 28, 2020
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            December 28, 2020                               By    G. Garcia
            Filed Date                                            Deputy Clerk




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  The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
  1.    The defendant must not commit another federal, state, or local crime;    9.    The defendant must not knowingly associate with any persons
  2.    The defendant must report to the probation office in the federal               engaged in criminal activity and must not knowingly associate with
        judicial district of residence within 72 hours of imposition of a              any person convicted of a felony unless granted permission to do so
        sentence of probation or release from imprisonment, unless                     by the probation officer. This condition will not apply to intimate
        otherwise directed by the probation officer;                                   family members, unless the court has completed an individualized
  3.    The defendant must report to the probation office as instructed by the         review and has determined that the restriction is necessary for
        court or probation officer;                                                    protection of the community or rehabilitation;
  4.    The defendant must not knowingly leave the judicial district without     10.   The defendant must refrain from excessive use of alcohol and must
        first receiving the permission of the court or probation officer;              not purchase, possess, use, distribute, or administer any narcotic or
  5.    The defendant must answer truthfully the inquiries of the probation            other controlled substance, or any paraphernalia related to such
        officer, unless legitimately asserting his or her Fifth Amendment              substances, except as prescribed by a physician;
        right against self-incrimination as to new criminal conduct;             11.   The defendant must notify the probation officer within 72 hours of
  6.    The defendant must reside at a location approved by the probation              being arrested or questioned by a law enforcement officer;
        officer and must notify the probation officer at least 10 days before    12.   For felony cases, the defendant must not possess a firearm,
        any anticipated change or within 72 hours of an unanticipated change           ammunition, destructive device, or any other dangerous weapon;
        in residence or persons living in defendant’s residence;                 13.   The defendant must not act or enter into any agreement with a law
  7.    The defendant must permit the probation officer to contact him or her          enforcement agency to act as an informant or source without the
        at any time at home or elsewhere and must permit confiscation of               permission of the court;
        any contraband prohibited by law or the terms of supervision and         14.   The defendant must follow the instructions of the probation officer
        observed in plain view by the probation officer;                               to implement the orders of the court, afford adequate deterrence from
  8.    The defendant must work at a lawful occupation unless excused by               criminal conduct, protect the public from further crimes of the
        the probation officer for schooling, training, or other acceptable             defendant; and provide the defendant with needed educational or
        reasons and must notify the probation officer at least ten days before         vocational training, medical care, or other correctional treatment in
        any change in employment or within 72 hours of an unanticipated                the most effective manner.
        change;




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    X The defendant must also comply with the following special conditions (set forth below).

            STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

            The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
  restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
  to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
  for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
  order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
  must be delivered to:

            United States District Court, Central District of California
            Attn: Fiscal Department
            255 East Temple Street, Room 1178
            Los Angeles, CA 90012

  or such other address as the Court may in future direct.

           If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
  balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

           The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
  residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

           The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
  defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
  The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
  adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
  § 3563(a)(7).

            Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

             CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

           As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
  report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
  with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
  or open any line of credit without prior approval of the Probation Officer.

            When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
  Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
  or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
  of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
  name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
  new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
  modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
  behalf.

          The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
  approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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